
In re Spellman, John E.; — Plaintiff(s); applying for supervisory and/or remedial writ; Parish of St. Bernard, 34th Judicial District Court, Div. “A”, No. 99-250; to the Court of Appeal, Fourth Circuit, No. 97KW-0286.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La. 9/5/95), 660 So.2d 1189; State ex rel. Stepter v. Whitley, 93-2346 (La. 10/13/95), 661 So.2d 480; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La. 1/12/96), 665 So.2d 1172; La.C.Cr.P. art. 930.4(D).
CALOGERO, C.J., not on panel.
